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 8
                                    UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
12   ANTITRUST LITIGATION
                                                     MDL No. 1917
13
                                                     INDIRECT-PURCHASER PLAINTIFFS’
14                                                   ADMINISTRATIVE MOTION TO SEAL
                                                     DOCUMENTS PURSUANT TO CIVIL
15                                                   LOCAL RULES 7-11 AND 79-5(d)_______

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17

18          Pursuant to Civil Local Rules 7-11 and 79-5(d), Plaintiffs hereby move for

19   administrative relief to file the following documents, or portions thereof, under seal:

20                 Reply Brief in Support of Indirect-Purchaser Plaintiffs’ Motion for Class

21                  Certification

22                 Declaration of Mario N. Alioto in Support of Reply Brief in Support of Indirect-

23                  Purchaser Plaintiffs’ Motion for Class Certification

24                 Rebuttal Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-

25                  Purchaser Plaintiffs for Class Certification

26                 Indirect-Purchaser Plaintiffs’ Opposition to Defendants’ Motion to Strike the

27                  Proposed Expert Testimony of Dr. Janet S. Netz

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           INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL DOCUMENTS
                          — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
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 1                   Declaration of Janet S. Netz, Ph.D., in Support of Indirect-Purchaser Plaintiffs’

 2                    Opposition to Defendants’ Motion to Strike the Proposed Expert Testimony of Dr.

 3                    Janet S. Netz

 4
              This motion is supported by the Declaration of Mario N. Alioto In Support of Indirect-
 5
     Purchaser Plaintiffs’ Administrative Motion To File Documents Under Seal (“Alioto Decl.”).
 6
              Civil Local Rule 79-5(d) provides: “If a party wishes to file a document that has been
 7
     designated confidential by another party pursuant to a protective order, or if a party wishes to
 8
     refer in a memorandum or other filing to information so designated by another party, the
 9
     submitting party must file and serve an Administrative Motion for a sealing order . . . .”
10
     Here, Plaintiffs submit this Administrative Motion because they wish to file documents that
11
     contain either (a) material designated by Defendants pursuant to the Stipulated Protective Order
12
     (Dkt. 306, June 18, 2008) as “Confidential” or “Highly Confidential” or (b) analysis of,
13
     references to, or information taken directly from material designated by Defendants pursuant to
14
     the Stipulated Protective Order as “Confidential” or “Highly Confidential.” See Alioto Decl., ¶
15
     2. Plaintiffs take no position on whether the designated documents satisfy the requirements for
16
     sealing. Although Plaintiffs’ request is narrowly tailored to include only the information that
17
     may require confidentiality, it is Defendants’ burden to show good cause for sealing the
18
     designated documents by submitting a declaration showing good cause and a proposed order
19
     within seven days after the lodging of the designated documents. See Civil Local Rule 79-5(d).
20
     Because Civil Local Rule 79-5(d) prohibits the sealing of documents by agreement of the parties,
21
     the parties are unable to enter into such a stipulation. See Civil Local Rules 7-11 (requiring
22
     explanation of lack of stipulation), 79-5(d).
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                     INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                        DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
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 1   Dated: February 15, 2013              Respectfully submitted,

 2                                          /s/ Mario N. Alioto
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                 INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                    DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
